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                                         United States Bankruptcy Court
                                               Southern District of Florida
 In re   One Pay Cloud, LLC                                                          Case No.
                                                             Debtor(s)               Chapter     11




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for One Pay Cloud, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Transact First LLC
11451 NW 36th Ave
Miami, FL 33167




  None [Check if applicable]




January 15, 2024                                /s/ Diego G. Mendez
Date                                            Diego G. Mendez 52748
                                                Signature of Attorney or Litigant
                                                Counsel for One Pay Cloud, LLC
                                                MENDEZ LAW OFFICES
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